                                 Article V                                         L12000135552
The name and address of managing members/managers are:                             FILED 8:00 AM
                                                                                   October 24, 2012
    Title: MGR                                                                     Sec. Of State
    KARISSA DYAR                                                                   nculligan
    10486 VALENCIA RD
    SEMINOLE, FL. 33772

                                 Article VI
The effective date for this Limited Liability Company shall be:
     10/24/2012
Signature of member or an authorized representative of a member
Electronic Signature: KARISSA DY AR
I am the member or authorized representative submitting these Articles of Organization and affirm that the
facts stated herein are true. I am aware that false information submitted in a document to the Department
of State constitutes a third degree felony as provided for in s.817.155, F.S. I understand the requirement to
file an annual report between January 1st and May 1st in the calendar year following formation ofthe LLC
and every year thereafter to maintain "active" status.




                                               APP. 1169
2015 FLORIDA LIMITED LIABILITY COMPANY ANNUAL REPORT                                                                                                     FILED
DOCUMENT# L12000135552                                                                                                                                Apr 30, 2015
Entity Name: KLS INDUSTRIES, LLC                                                                                                                    Secretary of State
                                                                                                                                                     CC7706910117
Current Principal Place of Business:
873 WEST BAY DRIVE
SUITE 142
LARGO, FL 33770


Current Mailing Address:
873 WEST BAY DRIVE
SUITE 142
LARGO, FL 33770

FEI Number: XX-XXXXXXX                                                                                                      Certificate of Status Desired: No
Name and Address of Current Registered Agent:
DYAR, KARISSA
873 WEST BAY DRIVE
SUITE 142
LARGO, FL 33770 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE:
                         Electronic Signature of Registered Agent                                                                                                                Date

Authorized Person(s) Detail :
Title                  MGR
Name                   DYAR, KARISSA
Address                873 WEST BAY DRIVE
                       SUITE 142
City-State-Zip:        LARGO FL 33770




I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am a managing member or manager of the limited liability company or the receiver or trustee empowered to execute this report as required by Chapter 605, Florida Statutes; and
that my name appears above, or on an attachment with all other like empowered.

SIGNATURE: KARISSA DYAR                                                                                                MGR                                                04/30/2015
                        Electronic Signature of Signing Authorized Person(s) Detail                                                                                             Date




                                                                                          APP. 1170
EXHIBIT N




  APP. 1171
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Policy Declarations
                                                                                Insurance-




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       Policyholder                                             Agency: 8095007

       SHORT, STEVEN                                            TITAN INSURANCE
                                                                5022 W FAIRFIELD DR
                                                                PENSACOLA, FL 32506



                                                                (850)456-4953




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                   APP. 1174
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  APP. 1175
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       Bank of America .....                                                            Business Signatun Cird
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       AceGuntNumben                         5336                                                                                 Bank Number: ~t07!,1:i_ __

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       Account Title:
        KLS INDUSTR.ISS. LLC




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       Bank of America 4--~

         Name ofl.imftcd Uobilil)' Company

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        by a msjorl!y oflha membtl'$/managers ofsaid Company ala meeting duly held on tho                              day orCX::        j.(;)        Q    l        ,~t
        which a quorum was present and acccd !ltroughoul or adop!Ud by lh• written cooscnt ofa 111'\iorlty ofrhc mcmbc!S/mana£•rs; and tbat such resclulions arc In full
        farce and effect and have nat bcel1 amended or rescinded,
        1. Resolved,tb:>l BANI<.OFAMER!CA,NA.                                                                                                                        (!lte"'lank")
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        With the Bank in aa::ordomcc with the terlllS of the Bank1a Deposit Agrecmont and Disdosun:s.and the applieable tales Rnd regulations for such attounLs; that any
        one of the fullnwing members, managers, or employees of this Company:

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       Bl!llk; lo accep~ drafts. accep1anees, and other iostrumcnts peyable at Bank; tD place orders with Bank li:>r lhc porclu!se and sale offoroign          =•ieson behalf of
       this Company; lo eAecule and delil'cr an elecironic fund transfers agrooment :md to make uansfc~> or withdrawals by electronic transll:r on behalf of the Company,
       to oblllfn an aeeess device (lnolodlng but not l!mUcd to a card, code, or other means of access to the Company's accounts) that may be used ftJr the purpose or
       initiating electron~ li:>nd transfer. [Company agreos 111d acknowledges that ne!lhcr tho Blectnmlc Fonds Transfer Act (IS U.S.C. 1693 et gq.) nor Rcgu121ion E (12
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       provision by Bank ofvarlons Tl'easUIY Manag"'""nt services to 11lls Company as such member, manager or employee may determine, in his or her sole discretion.
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       demand, protGt, B11d notice of protest or dishonor of any check. note. bill, drnft, or other imtrdment made, drawn or endom:d by this Company; and

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       of !be lndlvfdual obligation of sucb member, IIUUlllgct or employee, or lbr deposit 10 SI!Ch member's, manager's or employee's ~ersonal account and Bank sbal!not bo
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       payment or tnmsfer of funds whether ollll, by tolepbone or electronic means if such wilhdrawa~ onlcm or ll:an5fer are iniliall:d by 1111 above outborized member, m111111gcr
       or employee; omd

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         for deposit or ctJI!t:Ction; and
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         4. F11rtber Resolved, !hat endorsements ror deposit may be evidenced by the name of the Company being written or slamped on the check or other
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        5.  F11rtber ReslliVed,that a duly authorized mcrnberfmanagor orlllis Co~any shall certify to the Dank na            ........  "' .. -......      authorized to oct on
        behalf of1his Company under lhc forc&oing resolulions and sha.U fmm tiute to lime l:zef(afler. Ill changes in Jhe Idend[)' of said mcmbei'S'~ m:mager:t and employees
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        6. Further Resnlved, thal the rorcgotng rcsolutiDAS ~ball rcD'lQfn in full foree an4 effect IU1d the authoriCy herein given lD ell or said persoll5 shall rcmatin
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        7. Furthel" Resolved, that alltr11l1Saotions by any member, monagcr ar employee ofrhio Company on il!l behalf and in il!l IWilO with the Bank priorJo lite
        dolivcry to the Bank ofa certified copy of the foregoing resolutions are. in all respects, hereby rotilicd, COil firmed. approved and adopted; and
        8. Further Resolved, that any mcmberJmanager be and hereby is. aulhomed and dirocted to ccrtity tltcse resolutions                to the Ban!: and !bat lh• provisions
        hereofare In conformity with rbe Articles of0tg4nlzallon and Oparatinr; f<grcemcnt o!rhis Co111pony.




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      Bank of America .....                                                                   Certified Copy of Limited Liability Company Resolutions
       BANK OF AMEIUCA, N.A. (THE 'BANK")                                                     Opening and Maintaining Deposit Accounts and Services

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        ofthe rooord        minutes of KLS !NDUSTRIBS, LLC                                                                                                                                  ,
                imltod liobilily Company   0     professional limite~ flllblllty company duly organl:zcd and eJ<isdng under lhc laws oflhe Slate of         e 0 (.         I   t:t ~
        (the "Campoli)'"); !hall ha,.. filii authority to manage, represent,sisn forond bind the Company,lha! the fallowing is • true eopy ofresolutions du~ ~op~
        byamajorilyof!hcmcmbas!nmnogcrsofsaidCompBilyatamcolingdulyhe[donthe                        S::dayof OC 'f..e;:,be::>C ~____!:::::__.at
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        whieh a quorum was present and acted throughout or adopted by thewriuen consent of a majority of the memberslmanl:lgers: antf lhal.suchreso1u.t.ions ate in full
        f'orce and ctrtct and have not bcc.n amended or rescinded.
        1. ResoWed, that BANK O:P AMERICA. N.A.                                                                                                                                 (!he "Bank")



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        Is he!Cby desigoattd as a doposhooy ofthe Company and that deposit accounts ond/or time dopes its (COs} to be opcned and nudntain&! in the name ofthis CompBIIY
        with the BIIIlk In accordonco wllh the tenns or tho Bank's Deposit Agreement aod D!S<losures and the applicable rules and regulations for such acoollJI!s; that any

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        Na~                                             -J                       ~                  ~r=m~~~w~~~~~--------------------------



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        Name                                                                                        Titlo/Statns
        is hereby aulhDrizd, on behalf ofthis Compaoy and Its name, to execute and sign any application, deposit agreement, sigt~oluro cant and any other d<>oumentation
       required by Sank Ia open said accounts; !o Sign checks, drafts. notes, bills of exchan&"o acceptances, lime deposits (COs) or other oniCIS for pay.-t of money, !o
       cndo!5c chcoks, dmls, notos, bills. time deposits (COs) or other instruments owned or held by lhb company fur deposit with Blllll: or for oollcclion or discount by
       Bank; to accept, d.mll<, acecptam:es, and    otherInstruments payable at Bank; to place onders with Bonk for !lie pun:hase and sale oflbrelgo cumncfcs oo bohalfof
       Ibis Company; to execute and deUvor an cleclronic fund transliors agreement and to mlko l!ansfe!S or withdmwals by eleotmnio transfer on behalfof Company;            the
       to obtain an actes!! devlco (bu:luding but not limited !a a card, code, or other tneanS of access to the Company's accounts) lha! may bo used fbr the purpose of
       initiating c!cctronlc limd trans!Crn [Compmy agrees and acknowledges !hal neither !he £leetronic Funds Transfer Act (IS U.S. C. 1693 c! seq.) 1101 Regulation E (12
       C.F.R. Part 205) arc appUcable to any sucl! access devitc]; to establ!sb and maintain a night deposit rc!adonship; to execute rmd deliver a wire                tr.tosfer
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       nod "' n:quest, or Ia appoinl and delegate !tom Ume to timo sncl! pam>ns who ""'Y roques4 wires of fund•; to entor into any ....,.,....ts with the Bank lOr the
       pn>mi~m by Bank or yarJous Trusmy Man~~gcmcnt SOl\' Ices to this CompBIIY liS SliCk member, mnnogcr or employee may determine, in his or ber sole dls<:rction,
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       ond "' sign any and all dotumcnts and lake all actions rcqnlrcd by Bank n:falivc to such Trcasucy Management sesvices lbc pcrllnmance of the Compaey's
       obligations there under, and dun lilY such Treosuoy Managernenl agreemeru(s) shall =ia In lbll lbroe and ellCct untll wriu.n nodce to b:rmina!e given in
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       agrccm~nt or le1!5C: 1o ta1re whatever otl=- acti0115 or enter into whatever other auccmen[S relating to the accounts or investment o!fu1ds in sllCb ecounls with
       811111: and to eo:ccute, emend, supplement and l!eUver to SBilk si!Ch agreements on !Je!Wf"oftbe Company upon such terms oltd condfilons" sucb member, manager
       or employee may deem approprllde and to sppoinl and delepte, ftorn time to time, such pe~Jon(s) who may be aulhorized to en tor into •uc\ agreements and take ny
       other actio11a pmvaot to such agreements in QQMection with said accounlS' !hat lbo member, mannger- or employee deems necesslll"Y; and Ia watve presentmeot.
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       demand, prot.. ~ and notice ofpmtes! or dishonor ofany chocl<. note, bg~ droll. other instrumm>tmade. drown or ondol)ed by this Company; and

       2. FurUter Resolved, Uta! the Bank be and Is hereby rru!hoi!Zed to boner, tc<:elve, cenfly, pay or C><chaogo for money ONCill or other iostru"""'ts aU lnstrumenrs
       signed in aeoordancc: wilh lbc lbregojng n:.rollltionsoYan lllough=h payment may create an ovcrdntl\or OYCn though such fnsll1lmeD!S may lx: tfraVIII orcnd:nsod to the
       artier of any member. manager or employ= slinio& tltc smte or !ondercd by such mcmbt:r, malll!gcr or employee or a lhind party lbr ex•ban&• or casftlns, or in payment
       of tho frult.idual obligalion of suob member, manager or emplo)'lc, or R>r dcposH to sucl! member's, utatta&f"s or employee's personal account and Bank shall not be
       required or be under B1JY obll!l'ltkln to inquire as to lbc clrcums!Bnces oflho issllilllcc or usc of any lnstrumenl stgned In a<:eordru1C11 with lho liln:!l"r.~ n:solotions or the
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       applicalion or disposition of SIICh instrument or proceeds thereof, •nd. furlhor,lhat the BBilk is au!hori21:d to honor any inslructioll$ noganfmg wllhdtoW~~Is. art!CIS for
       payment or!Jinsfer of funds wltelher oral, by relepllone or electmnic means if such wlllllraWlll, orde!S or trans!Gr IIIC lnltfall:!l by an ;rbovo aUihorlzod mcmber,III8IIll!lct
       or employee; and

       3, Ftlrther Resolved, !hat the Bank bc and is hereby roqoostcd, ••thorl:zcd and dircclod to benorand 11:> tn:atasauthorized, checks, drafts orolhetctde!!! for
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       thereon IS slgnt:r du:reot;. when bearing or purporting to bc.ar the fk=imile .!:i,§llohtre oh.n member, tnana~Jer or employee authorized in the foregoing resotUlions and
       the Bank sltall be entftlcd to henCJr, to lrcol8$ authorized, and to charge this Company for sut:lo chccl<s, drafts. or other ordm regardless ofby whom 01 by what
       means tho aotualor purported focslmllc signature !h......, moy haYC bcon affixed thereto, ifsuoh signoturo ,.,.m&J.. the filtsimilc opecimen duly certified to or filed
       with lho Bank by amemboJ:Ill1A!lliFT of this Company or ifsut:lo llu:slmileslgualuro resembles aoy lilcslmlleslgnB!tJte prcvionsly affixed 1u any c!Jeclc. dJoJl, or
       other onderdraMl in the Compll!lf511lUT10, wblt:l1 cl1cck, dmll, or other order wu at<:eptcd and paid wirhoot timely objoc~on by th• Company, th=by radfYing lho
       wo ofsnch lilcsfmDo sfsnaturo; aad tho Company hcmby indemnilios Blld balds the Bank harmless against any and an loss, oosl, dllll1llge ortxpe~~se sall"erlf
       incurmd by tho Bank arising out ofor In any way related to the misuse or unlawful or unauthorized           =by a pe<Son ofsucn tacslmilc signllf!lre; and              0
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                                                                                                    APP. 1180
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        4. Further Resol~ed, lhat endorscmeots for deposit may be evldcoced by the name ollhc Compony being written or stBmped on the check or ether
        instrument depa.s:itcd. withour designation of the pa.i1y making the cndaB"emen~. BRd the Bank is authori2ed to cndarsemeat on any insrrument ttndered
        for deposit or ~llcelion; and

        5. Further Resolved, tllat a duly aiUhorizcd mcmbcrlmanagu oflhis Cotnpony shall ccnlfy to                                               persono aulhori:<Od 10 act on
        bclullrorthis Company under the foregoing resolutions and shall !Tom lime to time bereaf\er, as changos In the idOlllity of 5tild members, tnlJlBgers ond employe"'
        are mad~ immediately ll>port. furnish and octtif)' such cban11es to me Book and shall submit to the BRill< a new as:count •lgnoturc card reflecting suoh cbangc(s) in
        onlcr to malcc '"ch changes offccdVl! and the Bank shall he fully prntet:tcd in relying on such cen!ficotions and shall be indemnified :md saved harmless fi1ltn any
        clahns, demazuls, expmscs. Jo.ues, or damages rcsnJtinB from. or gmw.ing cut of. honoring tbe signanue or any member~ mBna,gc:r or crrploycc so ~rtified. or
        rciusins to hontrr any sigruUur4 not so corUfied; end

        6. Fllnher R.esolYed 1 that tbe furcgoins resolutions shall mnalrt in full force and effect and the authority herein gi\ltn to aU of said persons shall remain
        irtcvootbleM 1i!r auh I!Jtnk is concerned untn three (3) ~usiness days after the Bank is notified in writing of1he revocation of such authority andth>t rccoipt of
        such notice shall not affect any !\etlan takl;.ll by :udd &nk prior 1bcrcta;. 11nd

        7. Further Resolved, lhatall uansactiuns by ""Y member, man•I!U or etaployce or this Company on its bollnlf and In its name with the B~nk priorto the
        dcliv"'}' Ulthe Bank ofn ce~if!Cd COPJ' oftbe foregoing ll>So!utions aro, in allrespec!S, hereby ratified, confittncd, approved one! adopted; and

        8. Further Resolved, lltat any rnernbcdmanager he and hereby i~ authorized and direoaed to certifY these resolutions to the Bank and tballhc proVIsions
        hereof are in o:oafonnity wilh the Ntlcles ofOrganil!lltion Bnd Opclllrlrtg Agr«>mon! of !hi< Company.




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APP. 1382
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   APP. 1383
EXHIBIT R




  APP. 1384
6/10/2015                                                            Detail by Entity Name




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  Detail by Entity Name
  Florida Limited Liability Company
  E.M.SYSTEMS & SERVICES LLC
  Filing Information
  Document Number                            L12000147794
  FEI/EIN Number                             461452230
  Date Filed                                 11/26/2012
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  State                                      FL
  Status                                     ACTIVE
  Principal Address
  6822 22ND AVE N.
  SUITE #282
  ST. PETERSBURG, FL 33710
  Mailing Address
  6822 22ND AVE N.
  SUITE #282
  ST. PETERSBURG, FL 33710
  Registered Agent Name & Address
  SHORT, STEVE
  10486 VALENCIA RD
  SEMINOLE, FL 33772
  Authorized Person(s) Detail
  Name & Address

  Title MGR

  SHORT, STEVE
  10486 VALENCIA RD
  SEMINOLE, FL 33772

  Annual Reports
  Report Year                   Filed Date
  2013                          04/30/2013
  2014                          04/30/2014                                                                                            EXHIBIT
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6/10/2015                                                              Detail by Entity Name

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                                                                  APP. 1386
                 Electronic Articles of Organization                                L12000147794
                                                                                    FILED 8:00 AM
                              For                                                   November 26, 2012
                 Florida Limited Liability Company                                  Sec. Of State
                                                                                    kasaly
                                  Article I
The name of the Limited Liability Company is:
     E.M.SYSTEMS & SERVICES LLC



                                  Article II
The street address of the principal office of the Limited Liability Company is:
     6822 22ND AVE N.
     SUITE #282
     ST. PETERSBURG, FL. 33710

The mailing address of the Limited Liability Company is:
     6822 22ND AVE N.
     SUITE #282
     ST. PETERSBURG, FL. 33710

                                  Article III
The purpose for which this Limited Liability Company is organized is:
     ANY AND ALL LAWFUL BUSINESS.




                                  Article IV
The name and Florida street address of the registered agent is:
     STEVE SHORT
     10486 VALENCIA RD
     SEMINOLE, FL. 33772

Having been named as registered agent and to accept service of process for the above stated limited
liability company at the place designated in this certificate, I hereby accept the appointment as registered
agent and agree to act in this capacity. I further agree to comply with the provisiOns of all statutes
relating to the proper and complete performance of my duties, and I am familiar with and accept the
obligatiOns of my position as registered agent.
Registered Agent Signature: STEVE SHORT




                                                APP. 1387
                                 Article V                                         L12000147794
The name and address of managing members/managers are:                             FILED 8:00 AM
                                                                                   November 26, 2012
    Title: MGR                                                                     Sec. Of State
    STEVE SHORT                                                                    kasaly
    10486 VALENCIA RD
    SEMINOLE, FL. 33772

                                 Article VI
The effective date for this Limited Liability Company shall be:
     11119/2012
Signature of member or an authorized representative of a member
Electronic Signature: STEVE SHORT
I am the member or authorized representative submitting these Articles of Organization and affirm that the
facts stated herein are true. I am aware that false information submitted in a document to the Department
of State constitutes a third degree felony as provided for in s.817.155, F.S. I understand the requirement to
file an annual report between January 1st and May 1st in the calendar year following formation ofthe LLC
and every year thereafter to maintain "active" status.




                                               APP. 1388
